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                         IN THE UNITED STATES DISTRICT COURT

  16
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

  17
                                     WESTERN DIVISION

  18   PAUL SNITKO, JENNIFER                      Case No. 2:21-cv-04405
       SNITKO, JOSEPH RUIZ, and
  19   TYLER GOTHIER,                            DECLARATION OF NILAY VORA
                                                 IN SUPPORT OF PLAINTIFFS’
  20                                 Plaintiffs, MOTION FOR PRELIMINARY
                    v.                           INJUNCTION AND
  21                                             FOR PROVISIONAL CLASS
                                                 CERTIFICATION
  22
       UNITED STATES OF AMERICA,
       TRACY L. WILKISON, in her                 Date: June 28, 2021
  23                                             Time: 9:00 A.M.
       official capacity as Acting United
       States Attorney for the Central           Courtroom: 850
  24                                             Judge: Hon. R. Gary Klausner
       District of California, and KRISTI
       KOONS JOHNSON, in her official            Trial Date: TBD
  25                                             Action Filed: May 27, 2021
       capacity as an Assistant Director of
  26   the Federal Bureau of Investigation,
  27                                Defendants.
  28

                                    DECLARATION OF NILAY VORA
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   1         I, Nilay U. Vora, submit the following declaration in support of Plaintiffs’
   2   Motion for Preliminary Injunction and for Provisional Class Certification:
   3         1.     I am an active member of the State Bar of California and of this Court
   4   and the founder of The Vora Law Firm, P.C. I submit this declaration in support of
   5   Plaintiffs’ Motion for Preliminary Injunction and for Provisional Class
   6   Certification.
   7         2.     Attached as Exhibit A is a copy of the seizure warrant authorizing the
   8   seizure of U.S. Private Vaults’ property. This copy of the warrant was obtained via
   9   PACER from the docket in the related case of Does 1-6 v. United States, No. 21-cv-
  10   3254, Dkt. 20 (C.D. Cal.)
  11         3.     Attached as Exhibit B is a copy of the government’s application for a
  12   warrant to seize U.S. Private Vaults’ property. This copy of the warrant application
  13   was obtained via PACER from the docket in the related case of Does 1-6 v. United
  14   States, No. 21-cv-3254, Dkt. 20 (C.D. Cal.).
  15         4.     Attached as Exhibit C is a copy of the return for the seizure warrant for
  16   U.S. Private Vaults’ property. This copy of the warrant return was obtained via
  17   PACER from the docket in the related case of Does 1-6 v. United States, No. 21-cv-
  18   3254, Dkt. 20 (C.D. Cal.).
  19         5.     Attached as Exhibit D is a copy of the Declaration of Benjamin N.
  20   Gluck in Support of First Amended Complaint in the related case of In re Search
  21   and Seizure of Box No. 8309 at U.S. Private Vaults, No. 21-cv-3554, Dkt. 13-1
  22   (C.D. Cal.). The copy of this declaration was obtained via PACER.
  23         6.     Attached as Exhibit E is a copy of the Declaration of Nicole R. Van
  24   Dyk in Support of First Amended Complaint in the related case of In re Search and
  25   Seizure of Box No. 8309 at U.S. Private Vaults, No. 21-cv-3554, Dkt. 13-2 (C.D.
  26   Cal.). The copy of this declaration was obtained via PACER.
  27         7.     Attached as Exhibit F is a photograph of the notice posted outside of
  28   U.S. Private Vaults following the execution of the seizure warrant. This photograph
                                                 2
                                    DECLARATION OF NILAY U. VORA
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   1   was obtained from the website of the Los Angeles Times.
   2         I declare under penalty of perjury under the laws of the United States that the
   3   foregoing is true and correct.
   4         Executed this 27th day of May, 2021.
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                                             Nilay U. Vora
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                                   DECLARATION OF NILAY U. VORA
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   1                               PROOF OF SERVICE
   2         I am employed in the County of Los Angeles, State of California, and am a
       member of the bar of the United States District Court for the Central District of
   3   California. I am over the age of 18 and not a party to this action. My business
       address is 201 Santa Monica Blvd., Santa Monica, CA 90401. My electronic
   4   service address is nvora@voralaw.com. On the execution date below and in the
       manner stated herein, I caused service of a true and correct copy of
   5   DECLARATION OF NILAY U. VORA, on all interested parties in this action as
       follows:
   6
       [ X ] BY MAIL. By depositing in a sealed envelope in the United States mail
   7   with postage thereon fully prepaid to the following address:
   8
        Tracy L. Wilkison                           United States of America
   9    Civil Process Clerk                         c/o U.S. Attorney General
        United States Attorney’s Office             Merrick Garland
  10    Federal Building                            U.S. Department of Justice
        300 N. Los Angeles Street, Suite 7516       950 Pennsylvania Avenue NW
  11    Los Angeles, CA 90012                       Washington, DC 20530-0001
  12    Kristi Koons Johnson (in her official
        capacity)
  13    Federal Bureau of Investigation
        Assistant Director in Charge
  14    11000 Wilshire Boulevard, Suite 1700
        Los Angeles, CA 90024
  15

  16   [ X ] BY E-MAIL. By electronic mail transmission to the offices of the following
       addressee(s):
  17
                                  andrew.brown@usdoj.gov
  18
       [ X ] (STATE) I declare under penalty of perjury under the laws of the State of
  19   California that the above is true and correct.
  20         Executed on May 27, 2021, at Los Angeles, California.
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  22                                     /s/ Nilay U. Vora
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                                 DECLARATION OF NILAY U. VORA
